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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 MIDDLE DISTRICT OF FLORIDA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                              Check if this is an
                                                                        Chapter 13
                                                                                                                              amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Chris
     government-issued picture
                                       First Name                                                First Name
     identification (for example,
     your driver's license or          E.
     passport).                        Middle Name                                               Middle Name

                                       Carhart
     Bring your picture                Last Name                                                 Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)


2.   All other names you               Chris
     have used in the last 8           First Name                                                First Name
     years                             Earl
                                       Middle Name                                               Middle Name
     Include your married or
                                       Carhart
     maiden names.
                                       Last Name                                                 Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   5        8       3    2      xxx – xx –
     number or federal                 OR                                                        OR
     Individual Taxpayer
     Identification number             9xx – xx –                                                9xx – xx –
     (ITIN)




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Debtor 1     Chris               E.                          Carhart                            Case number (if known)
             First Name          Middle Name                 Last Name

                                       About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                        I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                                Business name
     the last 8 years
                                       Business name                                                Business name
     Include trade names and
     doing business as names
                                       Business name                                                Business name

                                                    –                                                           –
                                       EIN                                                          EIN

                                                    –                                                           –
                                       EIN                                                          EIN
5.   Where you live                                                                                 If Debtor 2 lives at a different address:

                                       621 Seaview Court P2
                                       Number       Street                                          Number      Street




                                       Marco Island                FL        34145
                                       City                        State     ZIP Code               City                       State     ZIP Code

                                       Collier
                                       County                                                       County

                                       If your mailing address is different from                    If Debtor 2's mailing address is different
                                       the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                       court will send any notices to you at this                   will send any notices to you at this mailing
                                       mailing address.                                             address.



                                       Number       Street                                          Number      Street


                                       P.O. Box                                                     P.O. Box


                                       City                        State     ZIP Code               City                       State     ZIP Code


6.   Why you are choosing              Check one:                                                   Check one:
     this district to file for
     bankruptcy                                Over the last 180 days before filing this                   Over the last 180 days before filing this
                                               petition, I have lived in this district longer              petition, I have lived in this district longer
                                               than in any other district.                                 than in any other district.

                                               I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the               Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                    Chapter 7

                                              Chapter 11

                                              Chapter 12

                                              Chapter 13




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Debtor 1     Chris              E.                     Carhart                          Case number (if known)
             First Name         Middle Name            Last Name

8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                          court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                          pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                          behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                          Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                          than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                          fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                          Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                   No
     bankruptcy within the
     last 8 years?                        Yes.

                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY
                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY
                                     District                                               When                    Case number
                                                                                                   MM / DD / YYYY

10. Are any bankruptcy                    No
    cases pending or being
    filed by a spouse who is              Yes.
    not filing this case with
                                     Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an                District                                               When                    Case number,
    affiliate?                                                                                     MM / DD / YYYY   if known


                                     Debtor                                                             Relationship to you

                                     District                                               When                    Case number,
                                                                                                   MM / DD / YYYY   if known

11. Do you rent your                      No.    Go to line 12.
    residence?                            Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                               residence?

                                                      No. Go to line 12.
                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                      and file it with this bankruptcy petition.




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Debtor 1     Chris                   E.                      Carhart                           Case number (if known)
             First Name              Middle Name             Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                  No. Go to Part 4.
    of any full- or part-time                  Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                     Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                    Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                        City                                                     State         ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                     Check the appropriate box to describe your business:
    to this petition.
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

13. Are you filing under                  If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                     can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                   most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business              or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                               No.   I am not filing under Chapter 11.

                                               No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                     the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                      Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                    Bankruptcy Code.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                     No
    property that poses or is                  Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                          If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                   Where is the property?
    a building that needs urgent                                                Number      Street
    repairs?



                                                                                City                                     State         ZIP Code




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Debtor 1     Chris                 E.                     Carhart                         Case number (if known)
             First Name            Middle Name            Last Name


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you              You must check one:                                          You must check one:
    have received              I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about             counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                                Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires            plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                                I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                                counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                                filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                                a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully             Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the            you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.          plan, if any.                                                plan, if any.
    If you cannot do so,        I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible        services from an approved agency, but was                    services from an approved agency, but was
    to file.                    unable to obtain those services during the 7                 unable to obtain those services during the 7
                                days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,         circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can               waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose               To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee         requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your          efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin         were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities       bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                      required you to file this case.                              required you to file this case.

                                Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                                along with a copy of the payment plan you                    along with a copy of the payment plan you
                                developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                may be dismissed.                                            may be dismissed.

                                Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                                for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                                I am not required to receive a briefing about                I am not required to receive a briefing about
                                credit counseling because of:                                credit counseling because of:
                                    Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                   deficiency that makes me                                     deficiency that makes me
                                                   incapable of realizing or making                             incapable of realizing or making
                                                   rational decisions about finances.                           rational decisions about finances.
                                    Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                   to be unable to participate in a                             to be unable to participate in a
                                                   briefing in person, by phone, or                             briefing in person, by phone, or
                                                   through the internet, even after I                           through the internet, even after I
                                                   reasonably tried to do so.                                   reasonably tried to do so.
                                    Active duty. I am currently on active military               Active duty. I am currently on active military
                                                 duty in a military combat zone.                              duty in a military combat zone.
                                If you believe you are not required to receive a             If you believe you are not required to receive a
                                briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.



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Debtor 1     Chris                 E.                       Carhart                         Case number (if known)
             First Name            Middle Name              Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you           16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                       as "incurred by an individual primarily for a personal, family, or household purpose."
                                                      No. Go to line 16b.
                                                      Yes. Go to line 17.

                                        16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                        16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                                 No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                               No
    are paid that funds will be
                                                          Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                      50-99                            5,001-10,000                       50,001-100,000
    owe?                                       100-199                          10,001-25,000                      More than 100,000
                                               200-999

19. How much do you                            $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                            $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                        $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Chris              E.                      Carhart                           Case number (if known)
             First Name         Middle Name             Last Name


 Part 7:      Sign Below
For you                              I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                     and correct.

                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                     or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                     proceed under Chapter 7.

                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                     fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                     or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                     X /s/ Chris E. Carhart                                      X
                                        Chris E. Carhart, Debtor 1                                   Signature of Debtor 2

                                        Executed on 08/24/2016                                       Executed on
                                                    MM / DD / YYYY                                                 MM / DD / YYYY




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Debtor 1     Chris              E.                      Carhart                          Case number (if known)
             First Name         Middle Name             Last Name

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ Richard J. Hollander                                            Date 08/24/2016
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        Richard J. Hollander
                                        Printed name
                                        Miller and Hollander
                                        Firm Name
                                        2430 Shadowlawn Drive
                                        Number          Street
                                        Suite 18




                                        Naples                                                     FL              34112
                                        City                                                       State           ZIP Code


                                        Contact phone (239) 775-2000                     Email address millerandhollander@comcast.net


                                        884900
                                        Bar number                                                 State




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